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 8                                IN THE UNITED STATES DISTRICT COURT
 9                                    FOR THE DISTRICT OF NEVADA
10
     Kajan Johnson and Clarence Dollaway, on behalf     Case No.: 2:21-cv-01189-RFB-BNW
11   of themselves and all others similarly situated,
                                                        OPPOSITION TO DEFENDANTS’
12                  Plaintiﬀs,                          MOTION TO DISMISS

13          vs.

14   Zuﬀa, LLC (d/b/a Ultimate Fighting
     Championship and UFC) and Endeavor Group
15   Holdings, Inc.,

16                  Defendants.

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 1       I.       INTRODUCTION

 2             Defendants1 filed a motion to dismiss (the “Motion to Dismiss,” “Motion,” or “Mot.”) the class

 3   action complaint of plaintiﬀs Kajan Johnson and Clarence Dollaway (“Plaintiﬀs”).

 4             None of Defendants’ arguments has merit.    at should be unsurprising. For seven years, the

 5   plaintiﬀs in the pending Le action (“Le”) have been prosecuting essentially the same case.      ey have

 6   amassed copious evidence that the UFC has engaged and continues to engage in the alleged scheme (the

 7   “Scheme”), causing the alleged anticompetitive harms.       e UFC imposes exclusive contracts on its

 8   professional mixed martial arts (“MMA”) fighters (“Fighters”) that are long-term on paper and perpetual

 9   in practice (the “Contracts”). It has signed the vast majority of Fighters ranked highly in their respective

10   weight classes to exclusive Contracts. It acquires (the “Acquisitions”) and otherwise forecloses potential

11   competitors. It coerces Fighters—especially those that win and attract large audiences—into new long-

12   term Contracts (the “Coercion”). It does so in part by forcing Fighters to sign new Contracts before the

13   old ones expire on pain of being deprived of fights—and thus pay—or being forced to face undesirable

14   opponents. Moreover, the strands of the Scheme—Contracts, Acquisitions, and Coercion—are

15   inextricably intertwined. For example, the Acquisitions and the Coercion lock Fighters into the Contracts.

16   Similarly, the Contracts require Fighters to compete only in UFC bouts, depriving potential competitor

17   MMA promotions of a critical mass of top-ranked Fighters.

18               is same Scheme is the basis both for Le and the new Johnson complaint (the “Complaint” or

19   “Compl.,” ECF No. 1), which Plaintiﬀs filed for two limited purposes: (1) to hold accountable Endeavor,

20   the majority owner of Zuﬀa since 2016, for its active involvement in suppressing Fighter compensation

21   (“Fighter Compensation”); and (2) to preserve the rights of Fighters injured by Defendants’ conduct after

22   June 30, 2017 (when the Le Class Period closed).

23               ose eﬀorts should be uncontroversial. Endeavor and its aﬃliates paid approximately $4 billion

24   in 2016 for the UFC. Compl. ¶29. Endeavor itself acquired a controlling interest, in part to oversee the

25   management of the UFC. Id. Further, Fighters who began competing for the UFC after June 30, 2017

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27    “Defendants” means Zuﬀa, LLC d/b/a Ultimate Fighting Championship and UFC (“Zuﬀa” or the
     “UFC”) and Endeavor Group Holdings, Inc. (“Endeavor”).
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 1   have a right to pursue their legal claims. It would have been more eﬃcient for Defendants simply to

 2   acknowledge that this new Johnson case may proceed—as Le has—and that the evidence should

 3   determine whether it succeeds.

 4          Defendants nonetheless have filed their Motion to Dismiss, just as the UFC did unsuccessfully in

 5   Le. Le v. Zuﬀa, LLC, 216 F. Supp. 3d 1154 (D. Nev. 2016).      ey have done so even though this new

 6   Motion should fail for many of the same reasons as the one in Le did.

 7             e Motion makes four arguments. First, Defendants contend that Plaintiﬀs do not allege a

 8   plausible product market. See Mot. at 17-23. Plaintiﬀs’ market definitions are so narrow, Defendants

 9   assert, that the Court should take the extraordinary step of rejecting them without even reviewing

10   evidence. In fact, the Complaint here defines the relevant markets based on all Professional MMA

11   Fighters, Compl. ¶¶42, 50, 63 & 72, a broad market definition that is favorable to Defendants and, in fact,

12   is the same approach Zuﬀa itself proposed in its motion to dismiss in Le. Motion to Dismiss, Le v. Zuﬀa,

13   LLC, No. 15-cv-1045, ECF No. 64 (D. Nev. Feb. 27, 2015) (“Le MTD”), at 14-15, 17-19. Nonetheless,

14   Defendants take the absurd position that amateur fighters, who do not sell their services, must be

15   considered in defining a market for the sale of MMA services. Plaintiﬀs’ market is plausible and, in any

16   event, the evidence should determine the relevant product market, not Defendants’ implausible assertions.

17          Second, Defendants attack Plaintiﬀs’ allegations of monopolization and monopsonization based

18   on the false claim that Plaintiﬀs improperly assume that “the competitive landscape has frozen over since

19   2014.” Mot. at 7. Plaintiﬀs make no such assumption. On the contrary, Plaintiﬀs allege Defendants’

20   market power has grown over time including through the proposed Class Period in this case. See, e.g.,

21   Compl. ¶¶100-101, 107 & 110.

22          Similarly, Defendants improperly ask this Court to resolve disputed factual matters contrary to

23   Plaintiﬀs’ allegations, citing numerous internet articles that they (wrongly) claim show increasing
24   competition in professional MMA. Mot. at 10-12. As Defendants themselves acknowledge, the Court
25   cannot consider such assertions by a defendant on a motion to dismiss.
26             ird, Defendants argue that the Complaint is untimely. In doing so, Defendants improperly try to
27   isolate each of the three intertwined strands of the Scheme: (1) the Contracts; (2) the Acquisitions; and
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 1   (3) the Coercion. Defendants characterize these strands as “clusters.” Mot. at 2.    ey then assume

 2   examples from each “cluster” had to occur during the statutory period for Plaintiﬀs to rely on that

 3   “cluster.”     at assumption is incorrect.   is Court already correctly held that the Scheme should be

 4   assessed as a whole. Le, 216 F. Supp. 3d at 1168-69.

 5           Moreover, the very cases on which Defendants rely are fatal to their position.     ey hold that the

 6   continuing violation doctrine allows a plaintiﬀ to bring a claim based on all of the elements of an

 7   anticompetitive scheme if, during the statutory period, the Defendants took any relevant actions in

 8   furtherance of it and the plaintiﬀ suﬀered resulting damages.      e Complaint exceeds this standard in that

 9   Plaintiﬀs allege that all three strands continue to the present—the Contracts (Compl. ¶¶100-01); the

10   Acquisitions (id. ¶110); and the Coercion (id. ¶107)—when the persistence of any one would suﬃce.

11           Fourth, Defendants assert that Plaintiﬀs do not adequately allege Endeavor’s involvement in the

12   anticompetitive conduct. Defendants claim, “Plaintiﬀs’ sole basis for naming Endeavor as a defendant is

13   that it owns Zuﬀa.” Mot. at 1. Not so. Plaintiﬀs allege that Endeavor played an active role in the

14   anticompetitive Scheme. Compl. ¶¶29-30. Relevant cases—including controlling Ninth Circuit precedent

15   that Defendants ignore—hold that those allegations suﬃce. Arandell Corp. v. Centerpoint Energy Servs.,

16   Inc., 900 F.3d 623, 629-32 (9th Cir. 2018).

17           For these reasons, Defendants’ Motion to Dismiss should be denied in its entirety.

18    II.          LEGAL STANDARD

19                e Court should take Plaintiﬀs’ non-conclusory allegations as true, view them in the light most
20   favorable to Plaintiﬀs, and determine whether they plausibly satisfy the elements of a claim. Le, 216 F.
21   Supp. 3d at 1163-64. Further, contrary to Defendants’ Motion, the Court should consider only the
22   allegations in the Complaint, not assertions by Defendants, articles that appear on the internet, or other
23   sources that are not properly subject to judicial notice. Id. at 1164.
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 1   III.         ARGUMENT

 2           A.        Plaintiﬀs Allege Plausible Relevant Markets

 3           Defendants argue that Plaintiﬀs fail to allege a plausible market to support their allegations of

 4   monopsony and monopoly power.          at argument fails for numerous reasons.

 5                1.        Plaintiﬀs’ Allegations of Monopsony Power Defeat Defendants’ Motion.

 6                     a.      Monopsony Power Suﬃces to Support a Monopsony Claim.

 7           As this Court held in Le, a claim based on an illegal monopsony does not require proof of

 8   monopoly power—the power to cause harm on the “seller side”—but only proof of monopsony power—

 9   the power to cause harm on the “buyer side.” Le, 216 F. Supp. 3d at 1163 (quoting California ex rel.

10   Harris v. Safeway, Inc., 651 F.3d 1118, 1161 (9th Cir. 2011)). Antitrust law “condemns market actors who

11   distort competition, whether on the buyer side or seller side.” Id.

12           Defendants do not deny that a market actor with monopoly power can distort the seller side by

13   raising the prices it charges above competitive levels. Symmetrically, in a case based on monopsony

14   power, it is enough if a defendant can distort the market on the buyer side by suppressing fighter wages

15   below competitive levels. Le, 216 F. Supp. 3d at 1163 (“Monopsony power is market power on the buy

16   side of the market. As such, a monopsony is to the buy side of the market what a monopoly is to the sell

17   side and is sometimes colloquially called a ‘buyer’s monopoly.’”) (quoting Weyerhaeuser Co. v. Ross-

18   Simmons Hardwood Lumber Co., 549 U.S. 312, 320 (2007)). Suppressed wages in a monopsony case are

19   a distortion of competition, just as are inflated prices in a monopoly case. O’Bannon v. Nat’l Collegiate

20   Athletic Ass’n, 802 F.3d 1049, 1070-71 (9th Cir. 2015) (suppression of worker compensation is suﬃcient

21   by itself to demonstrate “an anticompetitive eﬀect;” purported requirement that plaintiﬀs must “show a

22   decrease in output” is “simply incorrect”).2

23
     2
24     Defendants may cite United States v. Syufy Enterprises, 903 F.2d 659 (9th Cir. 1990), as Zuﬀa did in Le,
     and argue that monopoly power in the output market is required for liability in a monopsony case. ere,
25   the Ninth Circuit expressed skepticism that a regional movie theater company that lacked market power
     over consumers downstream could have monopsony power over giant movie studios. Id. at 663. But
26   Syufy did not hold that proof of monopoly power is necessary in a monopsony case; it merely made a
     factual observation relevant to the distinctive circumstances of that case. Syufy, which predates
27   O’Bannon, has no bearing on the situation here.

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 1          To be sure, Plaintiﬀs allege that Defendants have suﬃcient monopoly power to distort the seller

 2   side, inflating prices to MMA fans and reducing output of MMA events. Compl. ¶¶132, 139.         ose

 3   anticompetitive eﬀects are relevant, but they are not necessary.3

 4                  b.        Direct Allegations Suﬃce to Establish Monopsony Power.

 5          As this Court also held in Le, direct proof of market power suﬃces. Le, 216 F. Supp. 3d at 1161.

 6   Just as direct allegations of supracompetitive prices establish monopoly power, id., so too do direct

 7   allegations of suppressed compensation establish monopsony power. Id. at 1163 (recognizing the

 8   symmetry between monopoly and monopsony cases). Defendants ignore that holding. Plaintiﬀs make

 9   detailed allegations about how Defendants could and did suppress fighter compensation below

10   competitive levels. See Compl. ¶¶79-81, 95, 130-32 & 138. Defendants’ argument about monopsony

11   power therefore fails.

12                  c.          e Market Definition Should Be Based on Professional MMA Fighters.
13
            Plaintiﬀs also make independently suﬃcient indirect (or circumstantial) allegations of monopsony
14
     power. Compl. ¶¶77-82.       ey have done so by defining a relevant market based on those promotions that
15
     professional Fighters would see as reasonable substitutes. Id. Defendants’ Motion takes the extreme
16
     position that Plaintiﬀs cannot define a market from the perspective of professional Fighters but also must
17
     extend the market to amateur fighters.    at position is meritless for numerous reasons.
18
            First, in Le, Zuﬀa argued that the relevant market should be defined in just this way: based on all
19
     professional Fighters. Le MTD at 17-18. Even adopting that broad market definition—favorable to
20
     Defendants—Zuﬀa has monopsony power.
21
            Second, the Court’s ruling in Le precludes Defendants’ argument. Plaintiﬀs there defined the
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     market more narrowly, basing it on only those professional MMA Fighters that qualify as “elite.”        e
23
     Court held that the plaintiﬀs in Le appropriately defined the market for purposes of the pleadings. Le, 216
24
     F. Supp. 3d at 1165-67. If a market definition based on elite professional MMA Fighters is not too narrow,
25
     neither is a market definition based on the broader group of all professional MMA Fighters.     e same
26
     3
27    McNeil v. NFL, 790 F. Supp. 871, 895-96 (D. Minn. 1992) (showing eﬀects on seller side relevant but
     not necessary in monopsony case).
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 1   holding in Le also defeats Defendants’ contention that defining markets based on “top” fighters (Mot. at

 2   21) is too vague; that is the very argument Zuﬀa made and this Court rejected about “elite” fighters in Le.

 3   216 F. Supp. 3d at 1165-67. Further, Plaintiﬀs’ market definitions do not use the term “top” at all.      e

 4   characterization of “top” Fighters is relevant solely for assessing market power and foreclosure, i.e.,

 5   which MMA Fighters does a promotion need to control to dominate the market.          us, none of the cases

 6   Defendants cite about “vague” market allegations is relevant.4

 7             ird, the diﬀerences between professional and amateur Fighters is obvious, as is the diﬀerence

 8   between MMA Fighters and athletes in other sports.       is Court held that “the Supreme Court has

 9   recognized distinctions in diﬀerent levels of athletic competitions” in defining relevant markets. Le, 216

10   F. Supp. 3d at 1166 (citing Int’l Boxing Club, 358 U.S. at 252).    e Court thus endorsed the distinction

11   between elite and non-elite. Id. A fortiori, professional Fighters would not perceive fighting for free as an

12   adequate substitute for fighting for pay.

13          Similarly, it is plausible that, faced with artificially suppressed pay, too few Fighters would turn to

14   other combat sports or non-combat sports to drive their compensation up because their skills are “highly

15   specialized and unique.” See Compl. ¶¶67-71; see also id. ¶¶82, 96.5

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     4
17     See Mot. at 21 (citing Universal Grading Serv. v. eBay, Inc., No. C-09-2755 RMW, 2012 WL 70644, at
     *7 (N.D. Cal. Jan. 9, 2012); Besser Pub. Co. v. Pioneer Press, Inc., 571 F. Supp. 640, 642 (N.D. Ill.
18   1983)); id. (discussing Int’l Boxing Club of N.Y. v. U.S., 358 U.S. 242, 250-51 (1959); Intel Corp. v.
     Fortress Inv. Grp. LLC, No. 19-cv-07651-EMC, 2020 WL 6390499, at *8 (N.D. Cal. July 15, 2020);
19   Reudy v. Clear Channel Outdoors, Inc., 693 F. Supp. 2d 1091, 1127 (N.D. Cal. 2010)); id. at 20 (citing
     PSKS, Inc. v. Leegin Creative Leather Prods., Inc., 615 F.3d 412, 418 (5th Cir. 2010); Bay Area Surgical
20   Mgmt. LLC v. Aetna Life Ins. Co., 166 F. Supp. 3d 988, 997 (N.D. Cal. 2015)).
             Defendants’ reliance (Mot. at 22) on Golden Boy Promotions LLC v. Haymon, No. CV-15-3378-
21   JFW-(MRWx), 2017 WL 460736, at *10 (C.D. Cal. Jan. 26, 2017), fares no better. Golden Boy focused
     on managers, not athletes, and the plaintiﬀ there oﬀered “no explanation why managers of non-
22   Championship-Caliber Boxers would not be in the same economic market. . . particularly in light of the
     fact that a non-Championship-Caliber Boxer can become a Championship Caliber Boxer as the result of a
23   single fight.” Id. at *11. Plaintiﬀs’ allegations here concern the importance of having the services of top-
     ranked Fighters as compared with other Fighters to dominate the relevant markets. Here, a promotion’s
24   roster of a critical mass of top-ranked Fighters is the critical attribute Fighters consider in determining
     whether a promotion is a reasonable substitute for the UFC, and a promotion’s access to a stable of top-
25   ranked Fighters to generate compelling matchups is an essential element of the promotion’s ability to
     compete with the UFC. See, e.g., Compl. ¶96.
     5
26       e cases on which Defendants rely are inapposite. Hicks v. PGA Tour, Inc., 897 F.3d 1109 (9th Cir.
     2018), applied the traditional “reasonable interchangeability of use” standard, not a novel standard, to
27   advertising on the bibs of professional caddies at golf tournaments, id. at 1120-21, and accepted “that

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 1          Fourth, monopsony power—like monopoly power—should be weighted based on the amount of

 2   money at stake. Twin City Sportservice, Inc. v. Charles O. Finley & Co., Inc, 676 F.2d 1291, 1298 n.5

 3   (9th Cir. 1982) (“Twin City II”) (endorsing weighting concessions based on share of revenues). It goes

 4   without saying that the NBA has more market power than the organizers of a pick-up basketball game.

 5     e same is true for the UFC compared to some promotion of unpaid Fighters. Amateur Fighters, by

 6   definition, get paid nothing. Events involving amateurs have little or no bearing on the economics of the

 7   MMA fight industry, notwithstanding Defendants’ assertion to the contrary. As a result, defining the

 8   market based on all Fighters—even amateurs—not only makes no sense, but also would have no material

 9   eﬀect on Plaintiﬀs’ allegations that Defendants have monopsony power.

10                  d.      Monopsony Power Is Defined by Promotions, Not Fighters.

11          As Defendants acknowledged in Le,6 but miss here, the relevant market for purposes of

12   monopsony power consists of MMA promotions, not Fighters. For monopsony power, the issue is which
13   buyers purchase services or products on terms that make them substitutes from the perspective of sellers.7
14   In other words, the relevant market consists of those promotions a professional MMA Fighter would see
15   as reasonable substitutes for the UFC. Defendants’ error—defining the market in terms of fighters, not
16   promotions—renders confused and baseless their contention that Plaintiﬀs have not defined an
17   appropriate geographic market. Mot. at 19.
18
     advertisements to golf fans constitute a unique product market.” Id. What the court rejected was that “‘in-
19   play’ or ‘in-action’ advertising during professional golf tournaments . . . constitutes a unique submarket.”
     Id. Hicks did not suggest that advertisements through diﬀerent sports are interchangeable or that
20   advertisements on bibs of amateur caddies could substitute for advertisements on bibs of professional
     caddies. Hicks has no bearing on this case.
21           Defendants also cite United States v. E.I. du Pont de Nemours & Co., 351 U.S. 377, 395 (1956),
     for the “reasonably interchangeable” standard. Here, Plaintiﬀs allege that Professional MMA Fighters do
22   not view promotions of amateur bouts as a reasonable substitute for promotions of professional bouts,
     Compl. ¶¶72-75, nor do MMA consumers view bouts featuring amateur Fighters or bouts in other
23   countries as reasonable substitutes for professional MMA U.S. Events. Id. ¶¶45-49. Plaintiﬀs’ allegations
     therefore suﬃce under the “reasonably interchangeable” standard.
24   6
       Zuﬀa, LLC’s Motion to Exclude the Testimony of Dr. Hal Singer at 28-29, Le v. Zuﬀa, LLC, No. 15-cv-
     1045, ECF No. 524 (D. Nev. Feb. 16, 2018) (“[M]arket definition for an input market requires a ‘focus on
25   the alternatives available to sellers,’” that is, the alternative promotions for which the Fighters can work)
     (citations and emphasis omitted).
26   7
       Todd v. Exxon Corp., 275 F.3d 191, 202 (2d Cir. 2001) (“‘the market is not the market of competing
     sellers but of competing buyers. This market is comprised of buyers who are seen by sellers as being
27   reasonably good substitutes’” (quoting Roger D. Blair & Jeﬀrey L. Harrison, Antitrust Policy and
     Monopsony, 76 Cornell L. Rev. 297, 324 (1991))).
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 1             e relevant geographic market for assessing monopsony power includes U.S.-based

 2   promotions—or, alternatively, North American-based promotions—that hold professional MMA events

 3   taking place in the U.S. or broadcast in the U.S. (“U.S. Events”). Compl. ¶¶74-75.    e Complaint alleges

 4   that non-U.S.-based promotions do not compete with the UFC in holding U.S. Events. Id. Defendants

 5   cannot challenge that allegation on a motion to dismiss.

 6          Defendants claim that Plaintiﬀs’ geographic market definition is improper because it excludes

 7   foreign Fighters even if they could compete in U.S. Events or do compete in U.S. Events. Mot. at 19.

 8   Untrue.   at argument muddles Fighters and promotions. If a U.S.-based promotion hires foreign fighters

 9   to compete in U.S. Events, it falls within the relevant geographic market. So the geographic market

10   includes U.S.-based promotions that can and do hire foreign Fighters. Plaintiﬀs’ allegations of

11   monopsony power reflect the revenues generated by those foreign Fighters and their rankings.

12   Defendants’ assumption to the contrary is mistaken.

13                   e.      Plaintiﬀs Properly Allege Market Power in a Global Market.

14          Plaintiﬀs also allege, in the alternative, that the UFC has monopsony power even if the market is

15   defined to include all MMA promotions in the world. Compl. ¶77.       at is because of the UFC’s dominant

16   position in purchasing Fighter services. Indeed, Plaintiﬀs allege that the UFC at times hires foreign

17   fighters to compete in U.S. Events. Id. ¶76. Defendants concede that point. Mot. at 19. To be sure, the

18   UFC may contest at summary judgment or trial that it has monopsony power if the market is defined on a

19   world-wide basis. Whether it wins should depend on the evidence, not the pleadings.

20              2.        Plaintiﬀs Adequately Allege Monopoly Power.

21          Defendants’ arguments about monopoly power would not support dismissal, even if they were

22   persuasive. As explained in Section III.A.1 above, Plaintiﬀs’ sole claim requires only monopsony power,

23   not monopoly power. Nonetheless, although not required to state a claim, Defendants’ monopoly power is

24   relevant,8 as Plaintiﬀs allege that the Scheme reduced output and inflated prices for consumers of “live

25
     8
26    McNeil, 790 F. Supp. at 895-96 (“[T]he existence of defendants’ monopoly power is relevant for
     purposes of determining whether the challenged restraints are more anticompetitive because they have
27   been imposed by a monopolist[;] although defendants argue that monopolization of an output product

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 1   Professional MMA bouts.” Compl. ¶¶44-49.

 2             Defendants contest Plaintiﬀs’ allegations of monopoly power, arguing, as they did unsuccessfully

 3   in Le, that the market should include other combat and non-combat sports. Mot. at 22-23.          ey suggest

 4   that all combat sports must be in the same market as MMA bouts because “a MMA fan could turn to

 5   other combat sports (or sports in general) for entertainment if the cost of MMA content increased

 6   significantly.” Id. at 23 (emphases added). But that is the wrong standard.      e issue is not whether a

 7   fan—or several of them—might switch to other sports when prices are artificially inflated. It is whether

 8   so many fans would switch that it would be unprofitable for Defendants to inflate prices for MMA events

 9   above competitive levels. See, e.g., Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 482

10   (1992).     at a limited number of MMA fans could switch does not suﬃce. See Times-Picayune Pub. Co.

11   v. U.S., 345 U.S. 594, 612 n.5 (1953) (a “circle must be drawn narrowly to exclude any other product to

12   which, within reasonable variations in price, only a limited number of buyers will turn”).

13               us, for example, this Court recognized that championship boxing can define a market even

14   though some fans—perhaps a non-trivial number—might turn to non-championship boxing in the face of

15   inflated prices. Le, 216 F. Supp. 3d at 1166 (quoting Int’l Boxing Club, 358 U.S. at 252).       e key point is

16   that enough fans would remain loyal to championship boxing for a monopolist to increase its profits by

17   inflating its prices above competitive levels. Plaintiﬀs make a plausible, non-conclusory allegation that

18   the same is true for live Professional MMA bouts. Compl. ¶¶44-49.          at allegation should be taken as

19   true on a motion to dismiss.

20             To prevail now, Defendants have to establish that Plaintiﬀs’ market definition is so obviously

21   flawed that the Court need not even consider evidence in rejecting it. Twin City II, 676 F.2d at 1299 (“          e
22   definition of the relevant market is [] a fact question dependent upon the special characteristics of the
23   industry involved.”). Defendants cannot satisfy that standard for three reasons. First, it is plausible that
24   many fans prefer MMA events to other combat sports and other sports in general. As this Court
25

26   market . . . is irrelevant to a determination of the legality of restraints in an input labor market . . . they
     nevertheless premise their entire rule of reason defense on the alleged necessity of implementing player
27   restraints in the relevant input market in order to strengthen their ability to compete in the output
     market”) (citations omitted).
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 1   previously held, “An antitrust complaint [] survives a Rule 12(b)(6) motion unless it is apparent from the

 2   face of the complaint that the alleged market suﬀers a fatal legal defect. And since the validity of a

 3   ‘relevant market’ is typically a factual element rather than a legal element, alleged markets may survive

 4   scrutiny under Rule 12(b)(6) subject to factual testing.” Le, 216 F. Supp. 3d at 1165 (quoting Newcal

 5   Indus, Inc.. v. Ikon Oﬃce Sol., 513 F.3d 1038, 1045 (9th Cir. 2008)). Second, Plaintiﬀs have alleged

 6   direct evidence of monopoly power in the form of reduced output and elevated prices, Compl. ¶¶132,

 7   139, which suﬃces under this Court’s holding in Le and the Ninth Circuit opinion in Rebel Oil Co v. Atl.

 8   Richfield Co., 51 F.3d 1421, 1434 (9th Cir. 1995). Le v. Zuﬀa, LLC, 216 F. Supp. 3d at 1161 (quoting

 9   Rebel Oil, 51 F.3d at 1434).   ird, extensive evidence has come to light in Le that the UFC was able to

10   inflate prices and suppress output of live MMA events through its monopoly power—direct evidence that

11   should defeat summary judgment, much less a motion to dismiss.

12          B.        Plaintiﬀs State a Claim for Monopsonization (and Properly Allege Monopolization)
13
            Defendants also move to dismiss based on: (1) an allegation that they pretend Plaintiﬀs make that
14
     the MMA market has been frozen since 2014, contrary to Plaintiﬀs’ allegations; and (2) improper (and
15
     inaccurate) factual assertions that Defendants make about the MMA market.
16
                 1.     Defendants Invent an Allegation that “the Market Is Frozen.”
17
            Defendants claim that Plaintiﬀs assume the market has remained frozen since 2014. Mot. at 7-8.
18
     Untrue.     e Complaint here—as in Le—alleges that the UFC’s market power increased over the life of
19
     the Scheme. See, e.g., Compl. ¶102 (“the UFC gained and then maintained market and monopsony power
20
     through this anticompetitive scheme”); id. ¶110 (“continuing into the present, the UFC accelerated its
21
     aggressive anticompetitive campaign”).
22
            Plaintiﬀs allege—and have already presented extensive evidence to the Court in Le—that the
23
     UFC’s Scheme has caused a dramatic decrease in the number of professional MMA events in the U.S.
24
     and North America. Id. ¶132. Such a decrease in output is by definition monopoly power. Monopoly
25
     power includes the ability to decrease output below competitive levels profitably on an ongoing basis (or,
26
     the economic equivalent, to charge supracompetitive prices profitably on an ongoing basis, id. ¶139). See
27

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 1   Section III.A.1.b above.9

 2              2.      Defendants Premise         eir Motion on Improper Factual Assertions.

 3          Defendants rely on “public information” supposedly “revealing a market that has changed

 4   dramatically since 2014.” Mot. at 9.      ey do so even though they claim that they “do not ask the Court to

 5   decide factual matters on a motion to dismiss.” Id. (emphasis in original). But that is precisely what they

 6   (improperly) ask the Court to do.      ey pack eleven citations to internet articles into ten footnotes, though

 7   they do not even argue that it would be proper for the Court to take judicial notice of such reasonably

 8   disputed (and hearsay) sources of information. Mot. at 9-12, nn. 2-11; Fed. R. Evid. 201(b) (limiting

 9   judicial notice to facts that are “not subject to reasonable dispute”). Defendants pretend that they are

10   appealing to the Court’s “judicial experience and common sense.” Mot. at 9 (quotation and citations

11   omitted). But neither judicial experience nor common sense can reveal facts reported on the internet.        at

12   would require relying on internet sites—which is not permitted—or clairvoyance.

13          Nor are Defendants’ improper factual arguments reflective of reality.       ey claim, for example, that

14   Plaintiﬀs’ allegations fail to account for the purported “emergence of meaningful competitive threats.”

15   Mot. at 11. Of course, that assertion contradicts non-conclusory allegations in the Complaint that no other

16   promotion has a suﬃcient number of top Fighters to constitute a meaningful competitive threat to the

17   UFC. Compl. ¶¶115-29 (describing how UFC relegated other promotions to minor league status).

18          Defendants specifically cite two former UFC champions on the tail ends of their careers who

19   signed with other promotions in 2018 and 2020 after the UFC declined to exercise its right to match the

20   other promotions’ oﬀers. See Mot. at 11 & n.10. But the UFC does not and cannot contest the non-

21   conclusory allegation that the UFC would have had a contractual right to match any oﬀer made by

22   another promotion to those Fighters and, thus, the only reason those Fighters were able to defect to

23   another promotion is because the UFC no longer wanted them. Compl. ¶101(c) (describing right to

24   match). Further, even if, counterfactually, those two former champions at the end of their careers were

25
     9
       As explained above in Section III.A.1, to state an antitrust claim for underpayments to Fighters,
26   Plaintiﬀs need to establish only monopsony power; they need not establish also monopoly power
     (although here they allege both, Compl. ¶¶42-82). ose allegations suﬃced to state a claim in 2014—
27   which Defendants do not deny, Mot. at 9 (“these allegations may have been suﬃcient to survive a motion
     to dismiss in 2014”)—and they do now, too.
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 1   actually highly-sought-after Fighters in their primes, that alone would not establish those other

 2   promotions as the UFC’s meaningful rivals. Sporadic defections would not provide the necessary

 3   “critical mass” of top Fighters for a promotion to compete with the UFC. Id. ¶¶4, 45, 60, 62, 82, 96, 136

 4   & 147.

 5            Defendants contend that the Complaint ignores “rivals that exist today,” including the

 6   Professional Fighters League (“PFL”)10 and ONE Championship (“ONE”) and argue that Plaintiﬀs fail to

 7   account for Bellator’s supposed growth. Mot. at 7, 9-11. Defendants note that the PFL amassed $175

 8   million in investor financing in recent years and boasted that it would use some of those funds to “acquire

 9   ‘top talent.’” Id. at 11-12. Even if the Court were to consider those factual assertions, they would not

10   defeat Plaintiﬀs’ allegations of market power or market share.     e PFL’s $175 million pales compared to

11   the UFC’s valuation of over $9 billion.11 Further, investor funds do not inform market share analyses and

12   Defendants oﬀer no basis for concluding otherwise. Regardless, Defendants’ conduct forecloses access to
13   a critical mass of top Fighters. See Compl. ¶¶4, 45, 60, 62, 82, 96, 136, 147.
14            As to ONE, Defendants rely only on the purported valuation of the promotion and broadcast
15   deals. Mot. at 11. Defendants’ sole cited source for ONE’s purported “valuation approaching $1 billion
16   by 2016” is Dr. Singer’s expert report in the Le matter, which conservatively included ONE in its market
17   power analyses notwithstanding that (1) ONE’s executive stated that it was a mere “feeder organization
18   to the UFC,” SR1 ¶127, and (2) the $1 billion valuation of ONE is likely too high. See, e.g., id. ¶128,
19   n.350. After Dr. Singer’s reports in Le, ONE’s annual financial reports filed with Singaporean regulators
20

21
     10
22      PFL is the new name for the promotion formerly known as the World Series of Fighting. As the Court
     is aware, plaintiﬀs in the Le matter included PFL in their analyses that showed the UFC’s dominance in
23   the relevant markets through June 2017. See Pls.’ Opp. to Zuﬀa’s Mot. for Summ. J., Le v. Zuﬀa, LLC,
     No. 2:15-cv-01045, ECF No. 596 (D. Nev. Sep. 21, 2018), at 25-26 (explaining that PFL is included in
24   the “Ranked” submarket); see also Expert Report of Hal J. Singer, Ph.D., Le v. Zuﬀa, No. 2:15-cv-01045,
     ECF Nos. 727-1-727-5 (D. Nev. Aug. 27, 2019) (“SR1”), at 76, ¶¶111, 131 & Tbl. 3.
     11
25      Compare Mot. at 10 (referring to PFL’s $175 million financing raised), with Cole Shelton, How Much
     is the UFC Worth? Dana White Reveals Its Estimated Value, Sportskeeda.com (July 20, 2021),
26   https://www.sportskeeda.com/mma/news-how-much-ufc-worth-dana-white-reveals-estimated-value
     (quoting Dana White as valuing the UFC at $9 billion to $10 billion). At those relative valuations, even if
27   valuation were a proper market share metric, PFL’s market share would be minuscule (less than 2%).

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 1   began circulating in MMA media circles.12 A ONE financial report from those regulators shows revenue

 2   and loss information from 2017, 2018, and 2019 (attached as Exhibit A). ONE is hemorrhaging money,

 3   with only approximately $46.1 million in annual revenue in 2019,13 and over $97 million in after tax

 4   losses. See Exhibit A.14 As with the PFL, these numbers demonstrate that ONE poses no significant

 5   competitive threat to Defendants’ dominance.

 6          As to Bellator, Defendants rest their argument on their assertion that Plaintiﬀs’ allegations are

 7   similar to those in the Le plaintiﬀs’ 2014 complaint—that Bellator’s fighter compensation and revenues

 8   are “minimal.” See Mot. at 9-10. Defendants assert that whatever minimal “may have meant in 2014, its

 9   bare repetition in 2021 cannot plausibly” support an allegation of market power. Id. at 10. But Defendants

10   ignore that both complaints allege that Bellator’s revenues and fighter compensation levels are minimal

11   as “compared to those obtained by the UFC.” Mot. at 10 (quoting Compl. ¶127; Le Compl. ¶147).          e

12   UFC’s revenues have skyrocketed since 2014, so an increase in Bellator’s revenues would not necessarily

13   make it a competitive threat to the UFC. Plaintiﬀs’ allegations—which should be taken as true—establish

14   that it isn’t one. Compl. ¶127.

15          In short, the Court should ignore Defendants’ improper factual assertions and accept as true the

16   non-conclusory allegations in the Complaint that the UFC remains dominant.

17          C.         e Johnson Complaint Was Timely

18               1.        e Court Can Consider All Conduct in Furtherance of Defendants’ Scheme.
19
            Defendants argue that the Court cannot consider some parts of the Scheme—Acquisitions and
20
     Coercion—under the statute of limitations because they purportedly occurred too long ago. But the very
21
     cases Defendants cite define the continuing violation doctrine as follows: when diﬀerent parts of a
22

23
     12
        See, e.g., John S. Nash, An In-Depth Look at ONE Championship’s Finances, Bloodyelbow.com (Oct.
24   17, 2018), https://www.bloodyelbow.com/2018/10/17/17976862/one-championship-look-finances-mma-
     one-fc-losses (reviewing ONE’s finances as reported in their 2016 and 2017 financials).
     13
25      Exhibit A reflects financial figures in Singapore Dollars, which are each equal to roughly $0.74 U.S.
     Dollars.
26   14
        Nor was 2019 an anomaly. In 2018, ONE’s revenues were only approximately $27.6 million with
     losses of approximately $60.6 million, and in 2017, ONE reported less than $12.5 million in revenues
27   and over $25 million in losses. Id. In short, from 2017 to 2019, ONE’s after-tax losses increased from
     $25 million to $97 million.
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 1   Scheme operate in concert, if Defendants commit any new overt acts in furtherance of the Scheme and

 2   cause new injury to the Plaintiﬀs during the statutory period, all aspects of the Scheme can be considered

 3   in assessing liability. Here, the strands of the Scheme are inextricably intertwined. Further, acts in each

 4   strand occurred during the statutory period, as did the UFC’s resulting underpayments to Fighters.

 5          Defendants mistakenly assume that the Court should separate the alleged Scheme into distinct

 6   “clusters,” pertaining to Contracts, Acquisitions, and Coercion. Mot. at 2. Defendants then further assume

 7   that Plaintiﬀs can rely on Defendants’ anticompetitive conduct in a “cluster” only if some of the

 8   Defendants’ actions in that cluster occurred during the statutory period, that is, within four years of filing

 9   the complaint.

10          But Defendants have invented their “cluster theory.” It is not the law. In fact, this Court has

11   already rejected Defendants’ eﬀorts to dismember the Scheme and attack each part in isolation. In

12   denying the motion to dismiss in Le, this Court recognized that binding law holds an alleged

13   anticompetitive scheme should be assessed in its entirety. Le, 216 F. Supp. 3d at 1168.      e Court

14   explained, “As the Ninth Circuit has held, ‘in the antitrust context, the “character and eﬀect of a

15   conspiracy are not to be judged by dismembering it and viewing its separate parts, but only by looking at

16   it as a whole.”” Id. (quoting Costco Wholesale Corp. v. Maleng, 522 F.3d 874, 886 (9th Cir. 2008)

17   (quoting Continental Ore Co. v. Union Carbide & Carbon Corp., 370 U.S. 690, 699 (1962))); see also

18   Tele Atlas N.V. v. NAVTEQ Corp., No. C-05-1673, 2008 WL 4809441, at *23 (N.D. Cal. Oct. 28, 2008)

19   (“the court should consider the defendant’s various acts and examine them collectively for any

20   ‘synergistic result’”) (quoting California Comput. Prods., Inc. v. Int’l Bus. Machs. Corp., 613 F.2d 727,

21   746 (9th Cir. 1979)).

22             at same principle is fatal to Defendants’ statute of limitations argument. Courts have so held at

23   least since Hanover Shoe, Inc. v. United Shoe Machinery Corp., 392 U.S. 481 (1968), when the plaintiﬀ

24   was permitted to sue in 1955 for a “lease only policy” that began in 1912. Id. at 502, n.15.     e plaintiﬀ in

25   Hanover Shoe could sue based on a policy in place for over 40 years because the Court was “dealing with

26   conduct which constituted a continuing violation of the Sherman Act and which inflicted continuing and

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 1   accumulating harm on” the plaintiﬀ. Id.15

 2          As the Ninth Circuit explained in Oliver v. SD-3C LLC, 751 F.3d 1081 (9th Cir. 2014), when

 3   defendants engage in an anticompetitive scheme, commit acts during the statutory period in furtherance

 4   of that scheme, and cause new harm to a plaintiﬀ, the continuing violation doctrine applies. Id. at 1086

 5   (applying Klehr to an antitrust case).16

 6          Under these circumstances, Plaintiﬀs can rely on all of the Defendants’ exclusionary conduct in

 7   furtherance of the Scheme—including acquisitions that took place before the statutory period—to

 8   establish liability. See In re Google Digital Advert. Antitrust Litig., No. 20-cv-3556, 2021 WL 2021990,

 9   at *5 (N.D. Cal. 2021) (holding plaintiﬀs can rely on acquisitions that occurred before the statutory

10   period in support of liability provided those “acquisitions were made in concert with the company’s other

11   anticompetitive conduct”) (emphasis added).17

12          Indeed, Defendants admit that Plaintiﬀs “state a continuing violation of antitrust law” if they
13   “allege that—during the [statutory] period—the defendant completed ‘a new and independent’ overt act
14   and inflicted ‘new and accumulating injury on the plaintiﬀ.’” Mot. at 13 (quoting Samsung Elecs., 747
15   F.3d at 1202).   at is precisely what Plaintiﬀs allege here: during the statutory period, Defendants
16   committed new, independent overt acts in furtherance of the Scheme, causing new and accumulating
17
     15
18      See also Klehr v. A.O. Smith Corp., 521 U.S. 179, 189 (1997) (“[I]n the case of a ‘continuing
     violation,’ say, a price-fixing conspiracy that brings about a series of unlawfully high priced sales over a
19   period of years . . . each sale to the plaintiﬀ ‘starts the statutory period running again.’”) (quoting 2 P.
     Areeda & H. Hovenkamp, Antitrust Law ¶338b, at 145 (rev. ed. 1995)); In re Animation Workers
20   Antitrust Litig., 87 F. Supp. 3d 1195, 1208-09 (N.D. Cal. 2015) (“‘[E]ach time a plaintiﬀ is injured by an
     act of the defendants a cause of action accrues to him to recover damages caused by that act and that, as
21   to those damages, the statute of limitations runs from the commission of the act.’”) (quoting and applying
     Zenith Radio Corp. v. Hazeltine Research, Inc., 401 U.S. 321, 338 (1971) in antitrust case).
     16
22      See also Samsung Elecs. Co. v. Panasonic Corp., 747 F.3d 1199, 1203-04 (9th Cir. 2014) (entering new
     licensing agreement and enforcing existing agreement each suﬃcient for continuing violation doctrine);
23   Columbia Steel Casting Co. v. Portland Gen. Elec. Co., 111 F.3d 1427, 1444–45 (9th Cir. 1996) (actions
     taken in accordance with a pre-statutory period anticompetitive contract were suﬃcient for continuing
24   violation doctrine); Hennegan v. Pacifico Creative Serv., Inc., 787 F.2d 1299, 1301 (9th Cir. 1986)
     (holding new overt act occurred under continuing violation doctrine each time tour operators shepherded
25   tourists away from plaintiﬀs’ shop in exchange for payment).
     17
        Google was dismissed under the statute of limitations, but only because—unlike here where the acts
26   are intertwined and synergistic—plaintiﬀs there had not alleged the acquisitions were made in concert
     with the more recent anticompetitive conduct and plaintiﬀs in Google were granted leave to amend to
27   make appropriate allegations. Id. at *5-6.

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 1   injuries to Plaintiﬀs. For example, Defendants entered and continue to enter into new exclusive Contracts

 2   with Fighters on a routine basis. Compl. ¶¶97-103 (using present tense to describe exclusive Contracts);

 3   id. ¶101 (listing the UFC’s standard restrictive provisions “continuing into the Class Period”). Defendants

 4   also continue to engage in Coercion, see, e.g., id. ¶107 (“UFC punished and continues to punish Fighters

 5   that refuse, or consider refusing, the UFC’s contractual terms”), id. ¶¶104-07, and to acquire rivals or

 6   impede their growth through anticompetitive conduct. Id. ¶110 (“continuing into the present, the UFC

 7   accelerated its aggressive anticompetitive campaign” of driving rivals out of business or acquiring them);

 8   see also id. ¶¶108-114. Defendants also continue to pay Fighters much less than they would in the

 9   absence of the Scheme.18

10          Moreover, Plaintiﬀs allege that the three strands of Defendants’ conduct—Contracts, Acquisitions,

11   and Coercion—operate in concert and have a synergistic eﬀect. See id. ¶¶4, 95-96.       e acquisitions not

12   only increase Defendants’ monopsony (and monopoly) power, but also trap Fighters in anticompetitive

13   Contracts. Id. ¶¶4, 95-96, 114. So does Defendants’ Coercion. Id. ¶¶4, 95-96, 104. And the Contracts not

14   only trap Fighters but also deprive rival promotions of a critical mass of Fighters, preventing potential

15   competitors from competing eﬀectively with the UFC and making those potential competitors more

16   susceptible to acquisition. See, e.g., id. ¶¶4, 95-96, 136, 147. Each strand of the Scheme is intertwined

17   with and reinforces the others. As a result, any new overt acts causing new harms render all acts in

18   furtherance of the Scheme actionable. Klehr, 521 U.S. at 189; Oliver, 751 F.3d at 1086; Samsung Elecs.,

19   747 F.3d at 1202; Twin City SportService, Inc. v. Charles O. Findley & Co., 512 F.2d 1264 (9th Cir. 1975)

20   (“Twin City I”); Google, 2021 WL 2021990 at *5.19

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22      See, e.g., id. ¶132 (“As a result of the UFC’s scheme, compensation associated with fighting in MMA
     bouts to members of the Class has been and continues to be artificially suppressed.”) (emphasis added);
23   id. ¶138 (“As a result of the anticompetitive scheme, the UFC is able to compensate Fighters below
     competitive levels even though UFC events have among the highest average ticket prices in all of
24   sports.”) (emphasis added); id. at ¶140 (“ e Conduct comprising the UFC’s anticompetitive scheme is
     continuing and so are the damages suﬀered by the members of the Class.”).
     19
25         e intertwined nature of Defendants’ anticompetitive conduct also renders the primary cases on which
     they rely inapplicable. e two main ones are Z Technologies Corp. v. Lubrizol Corp., 753 F.3d 594 (6th
26   Cir. 2014) and Midwestern Machinery Co. v. Northwest Airlines, Inc., 392 F.3d 265 (8th Cir. 2004). Mot.
     at 13. Z Technologies is inapposite because the plaintiﬀ there had not alleged that the defendant
27   committed any new and independent acts that caused harm during the statutory period. 753 F.3d at 600-

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 1          Here, Plaintiﬀs allege that Defendants enter new exclusive Contracts with Fighters on an ongoing

 2   basis, Compl. ¶¶97-103, as well as engage in other conduct as part of the ongoing Scheme. Id. ¶¶104-114.

 3   Just as entering into a new licensing agreement and enforcing existing agreements each suﬃced under the

 4   continuing violation doctrine in Samsung Electronics, 747 F.3d at 1203-04, so does entering each new

 5   exclusive Contract with a Fighter suﬃce under the continuing violation doctrine. Each such act renders

 6   all of Defendants’ conduct in furtherance of its Scheme actionable under the continuing violation doctrine

 7   for damages Plaintiﬀs suﬀered during the statutory period.20

 8          As the Ninth Circuit has held, anticompetitive schemes that are exempt from the continuing

 9

10   04. Indeed, Z Technologies acknowledged a case in which a defendant had finalized and enforced a pre-
     existing anticompetitive policy during the statutory period and so the continuing violation did apply. Id.
11   at 601 (discussing DXS, Inc. v. Siemens Med. Sys., Inc., 100 F.3d 462, 467-68 (6th Cir. 1996)).
              Similarly, Midwestern Machinery refused to apply the continuing violation doctrine because the
12   sole anticompetitive act at issue was a merger. Further, the Eighth Circuit explicitly distinguished the
     pure merger case before it—where the doctrine does not apply—from a conspiracy or maintenance of a
13   monopoly—where it does. 392 F.3d at 271 (“Unlike a conspiracy or the maintaining of a monopoly, a
     merger is a discrete act, not an ongoing scheme. . . . Even if the initial merger violated § 7 [of the Clayton
14   Act, 15 U.S.C. § 18], it makes little sense to hold that policies were pursued to eﬀectuate the illegal
     merger as we might in a conspiracy violation §1 (e.g., cartel meetings occurred to eﬀectuate a price-
15   fixing agreement) or a case violating §2 (e.g., ongoing policy of predatory pricing undertaken to
     eﬀectuate monopolization).” ) (emphasis added).
     20
16      None of the cases on which Defendants relies (Mot. at 13, 16) is to the contrary. Aurora Enterprises,
     Inc. v. National Broadcasting Co., 688 F.2d 689 (9th Cir. 1982), held that the only relevant act was the
17   formation of a contract that occurred more than four years before the complaint was filed, not the passive
     receipt of profits, id. at 694, but the Ninth Circuit observed that it had held in the past that the continuing
18   violation doctrine does apply in a monopolization case based on exclusive contracts. Id. (discussing Twin
     City I, 512 F.2d 1264); see also Pace Indus., Inc. v. Three Phoenix Co., 813 F.2d 234 (9th Cir. 1087)
19   (noting the Twin City I “holding that [an anticompetitive, exclusive] contract was a continuing antitrust
     violation”).
20            Complete Entertainment Resources LLC v. Live Nation Entertainment, Inc., No. CV 15-9814,
     2016 WL 3457177 (C.D. Cal. May 11, 2016), cited at Mot. at 13-14, is also inapposite. ere the court
21   did not find that the merger at issue was in concert with the later anticompetitive conduct, and it rejected
     the notion that “if a merger leads to monopoly power, then anything anticompetitive that the newfound
22   monopolist does is a ‘continuing violation’ that began with the merger.” Id. at *2 (emphasis added). Here,
     the contracts, acquisitions, and coercion were and are in concert. See also Faircloth v. AR Res., Inc., No.
23   19-cv-5830, 2020 WL 820307, *7, n. 4 (N.D. Cal. Feb. 19, 2020) (plaintiﬀ asserted the continuing
     violation doctrine applied to a pattern of conduct but did not identify any actions that were part of the
24   pattern and occurred during the statutory period); Reveal Chat Holdco, LLC v. Facebook Inc., 471 F.
     Supp. 3d 981, 994-95 (N.D. Cal. 2020) (granting motion to dismiss because plaintiﬀs challenged
25   acquisition more than four years after it occurred and did not allege any new and independent acts nor did
     they allege new and accumulating injury on plaintiﬀs during the statutory period); Animation Workers, 87
26   F. Supp. 3d at 1211-14 (continuing violations doctrine did not apply because plaintiﬀs did not allege any
     overt acts—not even reaﬃrming the allegedly anticompetitive scheme—and did not allege any new or
27   accumulating injuries during the statutory period).

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 1   violation doctrine are “the exception, not the rule.” Oliver, 751 F.3d at 1085 n.5 (quoting Samsung Elecs.,

 2   747 F.3d at 1203).     e rule is that if defendants continue to commit acts that cause harm during the

 3   statutory period—such as charging above-competitive prices or entering contracts that pay below-

 4   competitive compensation—plaintiﬀs’ claims arising from those harms are timely. Id.

 5          Here, Plaintiﬀs allege new acts during the statutory period—including entering new

 6   anticompetitive Contracts on an ongoing basis—and new and accumulating injuries—particularly the

 7   ongoing suppression of class member compensation.         us, all of Defendants’ actions in furtherance of

 8   the Scheme should be considered in assessing Defendants’ liability.

 9              2.        Defendants’ Argument About American Pipe Tolling Is Irrelevant.

10          Defendants contend that filing Le did not preserve the claims in this action under American Pipe

11   & Construction Co. v. Utah, 414 U.S. 538, 552-53 (1974). Mot. at 15-16.        at argument is irrelevant.    e

12   Le proposed class action ensures the timeliness of all claims based on fights that occurred during the Le

13   class period—from December 16, 2010 through June 30, 2017.          is proposed class action ensures the

14   timeliness of all claims based on fights that occurred during the Johnson class period—starting on July 1,

15   2017 and continuing to the present. All damages claims are timely.21

16              3.          e Laches Doctrine Is Inapplicable.
17          Defendants claim that laches prevents Plaintiﬀs from seeking injunctive relief in this action. Mot.
18   at 16. Defendants, however, cannot carry their burden of proving the elements of laches: unreasonable
19   delay and prejudice.22
20
     21
21      Put more technically, members of the proposed Johnson class who fought for the UFC before the
     Johnson class period—that is, before July 1, 2017, Compl. ¶34—are also members of the proposed Le
22   class. American Pipe tolls the statute of limitations arising from compensation for those fights for
     members of the proposed Le class. Defendants do not claim otherwise. On the other hand, members of
23   the proposed Johnson class who fought only on or after July 1, 2017 have timely claims based on the
     Johnson complaint. Again, that is true under American Pipe. e only claims that could be aﬀected by
24   Defendants’ argument—claims by members of the Johnson class who are not also members of the Le
     class and seek to recover based on fights that occurred before July 1, 2017—form a null set. Defendants’
25   argument is thus irrelevant.
     22
        Danjaq LLC v. Sony Corp., 263 F.3d 942, 950-51 (9th Cir. 2001) (“To demonstrate laches, the
26   ‘defendant must prove both an unreasonable delay by the plaintiﬀ and prejudice to itself.’”) (quoting
     Couvea v. Am. Airlines, Inc., 218 F.3d 1078, 1083 (9th Cir. 2000)); Oliver, 751 F.3d at 1085 n.4 (“Under
27   the doctrine of laches, a suit seeking equitable relief will be barred if a party has inexcusably delayed

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 1          Plaintiﬀs did not delay filing the Johnson action unreasonably.     ey waited for sound, practical

 2   reasons.    ere was no need to file earlier to protect the Johnson Plaintiﬀs’ claims for damages. And the

 3   Le plaintiﬀs were already pursuing the very same equitable relief.

 4          For similar reasons, Defendants cannot show prejudice.         e UFC should have been—and

 5   presumably has been—preparing its defense to a request for equitable relief since the Le plaintiﬀs filed

 6   their class action complaint.    e UFC has known that the Le plaintiﬀs seek and have always sought

 7   injunctive relief.23 So any delay in filing Johnson could not have prejudiced Defendants. In addition, the

 8   Ninth Circuit has held that the continuing violation analysis, as addressed in Section III.C.1 above, also

 9   defeats the laches argument.24

10          D.      Plaintiﬀs State a Claim for Relief Against Endeavor

11          Defendants claim that Plaintiﬀs seek to hold Endeavor liable “purely based on the fact of its

12   ownership” of Zuﬀa. Mot. at 6 (citing U.S. v. Bestfoods, 524 U.S. 51, 61 (1998)). Not so. Plaintiﬀs seek

13   to hold Endeavor liable because of its own conduct. All that is necessary to do so is to establish that: (1)

14   the corporate family that includes Endeavor and Zuﬀa as a whole violated Section 2 of the Sherman Act,

15   15 U.S.C. § 2; and (2) in that violation, Endeavor played a role. Arandell, 900 F.3d at 631 (discussing

16   Lenox MacLaren Surgical Corp. v. Medtronic, Inc., 847 F.3d 1221 (10th Cir. 2017)). Defendants ignore

17   this point and the Ninth Circuit’s controlling opinion in Arandell.

18          Arandell addressed when one entity is liable for an antitrust violation involving another entity in

19   the same corporate family. 900 F.3d at 629-632 (discussing the so-called Copperweld doctrine that

20

21   pursuing his claim and his adversary has been prejudiced as a result.”) (citing Int’l Tel. & Tel. Corp. v.
     Gen. Tel. & Elecs. Corp., 518 F.2d 913, 929 (9th Cir. 1975)).
22   23
        Compare Am. Compl., Le v. Zuﬀa, No. 2:15-cv-01045, ECF No. 208 (D. Nev. Dec. 18, 2015) ¶172(d),
     with Johnson Compl. ¶151(d); see also Reply in Support of Pls. Mot. for Class Cert., Le v. Zuﬀa, No.
23   2:15-cv-01045, ECF No. 554 (D. Nev. May 30, 2018), at 25 & n.55 (“because a class certified under Rule
     23(b)(3) may still seek injunctive relief, there was no reason for the Court to assume that Plaintiﬀ sought
24   certification of a damages only Rule 23(b)(3) class”) (quoting Tigbao v. QBE Fin. Inst. Risk Servs., Inc.,
     No. CV 13-177, 2014 WL 5033219, at *1 (C.D. Cal. Sept. 22, 2014)).
25   24
           e continuing violation doctrine applies to laches. Oliver, 751 F.3d at 1086-87. e Ninth Circuit held
     in Oliver, “Because Plaintiﬀs allege that they were injured within the four-year limitations period,
26   Plaintiﬀs have suﬃcient facts to show that laches does not bar their federal antitrust claim.” Id. In other
     words, the very same showing that suﬃces for the continuing violation doctrine to overcome the statute
27   of limitations regarding damages, as explained in Section III.C.1 above, also defeats laches regarding
     injunctive relief. Id.
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 1   governs, inter alia, when diﬀerent related corporations can be liable for anticompetitive conduct) (citing

 2   Copperweld Corp. v. Indep. Tube Corp., 467 U.S. 752 (1984)). In doing so, the Ninth Circuit held that it

 3   and the Tenth Circuit in Lenox “reached the same conclusion.” Arandell, 900 F.3d at 631. Arandell—

 4   relying on reasoning in Lenox—set forth a two-step analysis for a Section 2 claim, like the one before the

 5   Court here.

 6          As applied in this context, the first step is to determine whether Plaintiﬀs have alleged that the

 7   enterprise—or corporate family—as a whole committed a Section 2 violation. Id. (“in a single-enterprise

 8   situation, it is the aﬃliated corporations’ collective conduct—i.e., the conduct of the enterprise they

 9   jointly compose—that matters; it is the enterprise which must be shown to satisfy the elements of a

10   [Section 2] claim”) (emphasis and alterations in original) (quoting Lenox, 847 F.3d at 1236). Plaintiﬀs do

11   not need to allege “that ‘specific Defendants’ independently satisfied each necessary element of the

12   claims.” Id. (emphasis and alterations in original) (quoting Lenox, 847 F.3d at 1236); see also Las Vegas

13   Sun, Inc. v. Adelson, No. 2:19-cv-01667, 2020 WL 7029148, at *10 (D. Nev. Nov. 30, 2020) (denying

14   motion to dismiss under Arandell for monopolization by corporate owners); Hightower v. Celestron

15   Acquisition, LLC, No. 5:20-cv-03639, 2021 WL 2224148 at *11 (N.D. Cal. Jun. 2, 2021) (same).

16             e second step is to assess whether plaintiﬀs have alleged that each defendant in a corporate

17   family played a role in the antitrust violation. According to the Ninth Circuit, the Tenth Circuit in Lenox

18   “agreed” that a plaintiﬀ’s “burden of establishing any individual defendant’s liability required showing

19   only that the defendant’s conduct played a ‘role’ in the overall anticompetitive scheme perpetrated by the

20   enterprise as a whole.” Arandell, 900 F.3d at 631 (quoting Lenox, 847 F.3d at 1230). As Arandell further

21   explained, “Copperweld ‘forecloses’ a result that would allow sophisticated companies to evade Section 2

22   liability by spreading anticompetitive schemes over multiple aﬃliates.” Id. at 632 (quoting Lenox, 847

23   F.3d at 1236). Also, under Arandell, a corporation is liable if it charged inflated prices as part of its
24   corporate family’s antitrust violation. Id. at 634.
25          Defendants argue that to establish Endeavor’s liability, the Plaintiﬀs here “must allege that ‘the
26   subsidiary is the alter ego of the parent’ or that the parent ‘controls, dictates or encourages the
27   subsidiary’s anticompetitive conduct.’” Mot. at 6 (quoting Climax Molybdenum Co. v. Molychem, L.L.C.,
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 1   414 F. Supp. 2d 1007, 1012 (D. Colo. 2005)). But that is the very standard that the Tenth Circuit in Lenox

 2   considered (Lenox, 847 F.3d at 1237-39), that the Ninth Circuit found that Lenox rejected (Arandell, 900

 3   F.3d at 631-32), and that the Ninth Circuit itself rejected, including as applicable to Section 2 cases. Id.

 4   Again, Arandell held it is enough that Endeavor played a role in the Scheme, such as by charging inflated

 5   prices. Id. at 631-34.25

 6           Plaintiﬀs allege that Endeavor played a role in the Scheme—for example, that Endeavor

 7   negotiates and executes pay-per-view (“PPV”), media, and sponsorship agreements on behalf of the UFC

 8   and its Fighters, Compl. ¶29 (citing Endeavor Group Holdings, Inc., Amendment No. 1 to Form S-1

 9   Registration Statement (Apr. 20, 2021) (“Endeavor S-1”), at 4-7, 108-09, 121, 148, 150-51), 26 and that

10   the Scheme has inflated the UFC’s PPV prices significantly above competitive levels. Id. ¶¶44, 139. In

11   other words, Endeavor charged inflated prices, an act that renders it liable for the Scheme. Arandell, 900

12   F.3d at 634.

13             e Complaint alleges that Defendants’ Scheme involves blocking sponsors from working with

14   actual or potential rivals and using sponsorship agreements to threaten, intimidate, and retaliate against

15   MMA Fighters who work with or for would-be rivals or speak out against the UFC. Compl. ¶¶101(g),

16   104-05, 110(a), 112.       e Complaint similarly alleges that the UFC enhanced its control over Fighters by

17   imposing other restrictions in Fighter Contracts regarding sponsorship agreements. Id. ¶102. Endeavor

18   negotiated such sponsorship agreements. Id. ¶29 & n.5 (citing Endeavor S-1 at 4-7, 109, 121, 148).

19             e Complaint alleges that Endeavor claims to operate the UFC’s online video streaming

20   platform, which the UFC uses to deprive would-be rivals of necessary inputs to promote MMA events.

21   Id. ¶29 & n.7 (citing Endeavor S-1 at 5, 49, 108, 150-51) ; id. ¶62.

22
     25
        See also In re Dealer Mgmt. Sys. Antitrust Litig., No. 18-CV-864, 2018 WL 6629250, at *5 (N.D. Ill.
23   Oct. 22, 2018) (denying motion to dismiss monopolization claims against parent and subsidiary
     corporations); Nobody in Particular Presents, Inc. v. Clear Channel Comm’ns., Inc., 311 F. Supp. 2d
24   1048, 1072 (D. Colo. 2004) (denying summary judgment on monopolization claims based on evidence
     that parent corporation “operates as an operating company, controlling and managing the conduct of its
25   subsidiaries, rather than as a holding company”).
     26
        Compare Compl. ¶29 & nn. 5-6 (citing Endeavor S-1 at 4-7, 109, 121, 148, 150), with id. ¶44
26   (explaining that promotions in the Relevant Output market generate revenue through “broadcast of the
     event on PPV, television, or over the Internet as well as through the sale of live and taped television
27   programming, video-on-demand, merchandise . . ., event sponsorships, and the collection of MMA-
     related copyright and trademark royalties”).
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 1             e Complaint also supports the plausible inference that Endeavor’s involvement in the Scheme

 2   runs even deeper. It alleges Endeavor’s direct participation in the UFC’s day-to-day business activities

 3   involving the promotion of live professional MMA bouts and events featuring members of the Class.

 4   Compl. ¶¶29-30, 42-49, 95-96.      ose allegations include statements from Endeavor’s own SEC filings

 5   wherein it purports to operate all aspects of the UFC’s business, including managing and promoting the

 6   UFC’s live professional MMA bouts and producing and distributing the UFC’s live professional MMA

 7   programming. Id. ¶29 & n.3 (citing Endeavor S-1, at 108).27 Endeavor even boasts that the corporation

 8   and its employees hold promotions’ and matchmakers’ licenses in various states allowing them to

 9   organize and promote the UFC’s live Professional MMA events. Id. ¶29 & n.4 (citing Endeavor S-1 at

10   159).

11           Non-conclusory allegations in the Complaint thus plausibly establish that Endeavor plays various

12   central roles in the alleged Scheme—just as it plays various roles in running the UFC. Id. at ¶¶29-30.      at

13   more than satisfies the standard for stating a claim against Endeavor—that it must play “a role” in the

14   alleged Scheme. Arandell, 900 F.3d at 631.

15           Defendants also make an additional misleading assertion: “most, if not all, of the conduct alleged

16   in the Complaint predated Endeavor’s full acquisition of Zuﬀa in 2021.” Mot. at 7 (emphasis added).

17   While Endeavor was not the sole owner of Zuﬀa until 2021, Endeavor acquired a controlling interest in

18   Zuﬀa—50.1%—in August 2016, as Defendants admit. Mot. at 7 (citing Compl. ¶29). Endeavor’s conduct

19   is thus relevant dating back to 2016.28

20
     27
21         e detailed allegations in the Complaint here are unlike the pleadings in Arnold Chevrolet LLC v.
     Tribune Co., 418 F. Supp. 2d 172, 178 (E.D.N.Y. 2006) (cited in Mot. at 6), where “there [we]re no
22   allegations in the Amended Complaint that even suggest that [the parent company] was involved in [the
     subsidiary]’s actions in any way” and the “[p]laintiﬀs’ failure to articulate any specific allegations against
23   [the parent corporation] [wa]s fatal to their claims.” (emphasis in original). Similarly, in In re Suboxone
     (Buprenorphine Hydrochloride & Nalaxone) Antitrust Litigation, the plaintiﬀs “failed to allege that [the
24   parent corporation] exercised suﬃcient control or pervasive domination over [the subsidiary] to support
     attributing [the subsidiary]’s market power to [the parent].” No. 13-MD-2445, 2015 WL 12910728, at *3
25   (E.D. Pa. Apr. 14, 2015) (cited at Mot. 6-7).
     28
        Endeavor may argue in reply that its controlling share of Zuﬀa is insuﬃcient under Arandell and so it
26   is not liable for the role it played in the Scheme before 2021. It would be too late, however, for
     Defendants to raise that argument for the first time in a reply brief. Further, if Endeavor were not liable
27   under Arandell as part of Zuﬀa’s corporate family until 2021 when it fully owned Zuﬀa, then it would be

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 1          Notably, the Motion does not claim that the statute of limitations or laches applies diﬀerently to

 2   Endeavor than to Zuﬀa. Doing so would fail for two reasons. First, Plaintiﬀs seek damages here only for

 3   underpayments that occurred starting on July 1, 2017, almost a year after Endeavor acquired a controlling

 4   interest in Zuﬀa in August 2016. Compl. ¶29.      ose underpayments would not have occurred without the

 5   ongoing exclusive Contracts. Id. ¶¶97-103. Second, in the Ninth Circuit, a participant is liable for acts

 6   taken in furtherance of an antitrust scheme, even if those acts occurred before it joined the scheme,

 7   provided the participant was aware of what had occurred in the past and had the intent to pursue the same

 8   objective. Indus. Bldg. Materials, Inc. v. Interchemical Corp., 437 F.2d 1336, 1343 (9th Cir. 1970)

 9   (comparing U.S. v. Bausch & Lomb Optical Co., 34 F. Supp. 267 (S.D.N.Y. 1940) with Rayco Mfg. Co. v.

10   Dunn, 234 F. Supp. 593, 598 (N.D. Ill 1964)) (“One who enters a conspiracy late, with knowledge of
11   what has gone before, and with the intent to pursue the same objective, may be charged with preceding
12   acts in furtherance of the conspiracy.”); see also Kleen Prod. LLC v. Int’l Paper Co., 831 F.3d 919, 930
13   (7th Cir. 2016).
14          E.      Plaintiﬀs Do Not Oppose Consolidation
15          Plaintiﬀs do not oppose Defendants’ request to consolidate Le and this action, Mot. at 16, n.12,
16   provided consolidation does not delay class certification, summary judgment, or a trial on liability and
17   damages in Le. As Plaintiﬀs will explain in the forthcoming [Proposed] Discovery Plan and Scheduling
18   Order, the Le jury trial on liability and damages should proceed on its own first, and subsequent
19   proceedings should address liability and damages in this action and injunctive relief in both actions.
20   Further, the discovery record in Le, including expert reports, should be available as if taken in this action.
21

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25
     liable for conspiring with Zuﬀa from 2016 until 2021. Endeavor cannot claim that it could not have
26   conspired with Zuﬀa because it had a controlling ownership share starting in 2016 and that it is also not
     liable under Arandell for the role it played in the alleged Scheme because it did not wholly own Zuﬀa
27   until 2021. See Arandell, 900 F.3d at 631-32 (“Defendants cannot have the Copperweld doctrine both
     ways.”).
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 1   IV.       CONCLUSION

 2          For the foregoing reasons, Defendants’ Motion to Dismiss should be denied.

 3          DATED this 22nd day of October, 2021.

 4                                                Respectfully submitted,

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                                                  Phoenix, AZ 85016
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26                                                Counsel for Plaintiﬀs Kajan Johnson and
                                                  Clarence Dollaway and the Proposed Class
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                          PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
         Case 2:21-cv-01189-RFB-BNW Document 41 Filed 10/22/21 Page 31 of 33




 1                                      CERTIFICATE OF SERVICE

 2           I hereby certify that on this 22nd day of October, 2021, a true and correct copy of

 3   OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS was served via the United States District

 4   Court CM/ECF system on all counsel of record who have enrolled in this ECF system.

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 6                                                       /s/ Pamela Montgomery
                                                        An employee of Kemp Jones, LLP
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                          PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
          Case 2:21-cv-01189-RFB-BNW Document 41 Filed 10/22/21 Page 32 of 33



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     Counsel for Plaintiﬀs Kajan Johnson and
 6   Clarence Dollaway and the Proposed Class
 7   [Additional counsel listed on signature page]
 8                                IN THE UNITED STATES DISTRICT COURT
 9                                    FOR THE DISTRICT OF NEVADA
10
     Kajan Johnson and Clarence Dollaway, on behalf     Case No.: 2:21-cv-01189-RFB-BNW
11   of themselves and all others similarly situated,
                                                        DECLARATION OF ERIC L. CRAMER,
12                  Plaintiﬀs,                          ESQ.

13          vs.

14   Zuﬀa, LLC (d/b/a Ultimate Fighting
     Championship and UFC) and Endeavor Group
15   Holdings, Inc.,

16                  Defendants.

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                                      DECLARATION OF ERIC L. CRAMER, ESQ.
     Case 2:21-cv-01189-RFB-BNW Document 41 Filed 10/22/21 Page 33 of 33




 1    I, Eric L. Cramer, Esq. declare and state as follows:

 2    1.     I am Chairman of Berger Montague PC and an attorney for Plaintiﬀs Kajan

 3    Johnson and Clarence Dollaway. I am a member in good standing of the State Bars of

 4    Pennsylvania and New York and have been admitted pro hac vice in this Court. I am over

 5    18 years of age and have personal knowledge of the facts stated in this Declaration. If

 6    called as a witness, I could and would testify competently to them.

 7    2.     I make this Declaration in Support of Plaintiﬀs’ Opposition to Defendants’ Motion

 8    to Dismiss (ECF No. 17).

 9    3.     Attached as Exhibit A is a true and correct copy of Group One Holding PTE,

10    LTD’s Corporate Compliance and Financial Profile, as obtained by the Singapore

11    Accounting and Regulatory Authority.

12    4.     I declare under the penalty of perjury and the laws of the United States that the

13    foregoing is true and correct.

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15                                                     /s/ Eric L. Cramer
                                                              Eric L. Cramer
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                               DECLARATION OF ERIC L. CRAMER
